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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
RICHEMONT INTERNATIONAL SA, ~
CARTIER INTERNATIONAL A.G., Case No. lS»cv-06555
MONTBLANC-SIMPLO GMBH, CHLOE
S.A.S., VAN CLEEF & ARPELS SA, and Judge Joan B. Gottschall
OFFICINE PANERAI_ A.G.,

Magistrate Judge Susan E. Cox
Plaintiffs,

V.

XIAO MEICHEN, et al.,

Defendants.

 

 

SATISFACTION OF JUDGMENT

WHEREAS, a judgment Was entered in the above action on December 7, 2018 [54], in
favor of Plaintiffs Richemont International SA, Cartier International A.G., Montblanc-Simplo
GmbH, Chloe S.A.S., Van Cleef & Arpels SA, and Officine Panerai A.G., (collectively,
“Plaintiffs”), and against the Defendants ldentified in Schedule A in the amount of one million
dollars ($l,O()0,000) per Defaulting Defendant for Willful use of counterfeit Plaintiffs’
Trademarks on products sold through at least the Defendant Internet Stores, and Plaintiffs
acknowledge payment of an agreed upon damages amount, costs, and interest and desires to
release this judgment and hereby fully and completely satisfies the same as to the following

Defendant:

 

Defendant Name Line No.
Spiritual Jewellery Store 305

 

 

 

 

 

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THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed
to make an entry of the full and complete satisfaction on the docket of said judgment

Dated this 25th day of April 2019.

 

Justin R. audio

Allyson M. Martin

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Counselfor Plaintijfs Richemont Internaz‘z`onal SA,
Cartier Imernational A.G., Montblanc-Simplo

GmbH, Chloe S.A.S., Van Cleef& Arpels SA,
Ojj€cine Paneraz' A.G.

Subscribed and sworn to me by Allyson M. Martin, on this 25th day of April 2019.

Given under by hand and notarial seal.

 

 

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Notary Pub|ic ~ State of illinois NOtaI'y Pu 110
My Commission Expires Nov 16, 2022
State of Illinois
County of Cook

